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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,
                                                      Case No. 1:06-cr-179-06
v.
                                                      HONORABLE PAUL L. MALONEY
VANCE LAMONT HALE,

                  Defendant.
_________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Vance Lamont Hale has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 706 and 711 of the United States

Sentencing Guidelines modified the Drug Quantity Table with regard to cocaine base (crack

cocaine). These modifications were made retroactive effective March 8, 2008. U.S.S.G. §

1B1.10(c).

       However, Defendant Hale is not eligible for a sentence modification because the base

offense level used at sentencing was 12. Accordingly, the amendments are of no assistance to the

defendant. Therefore,
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       IT IS HEREBY ORDERED that Defendant Vance Lamont Hale's motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (Dkt. #404) is DENIED.



Date: July 21, 2011                         /s/ Paul L. Maloney
                                           Paul L. Maloney
                                           Chief United States District Judge
